       Case 8-18-71748-ast            Doc 27       Filed 03/21/18        Entered 03/21/18 15:43:29




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Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
                                                                :
In re:                                                          : Chapter 11
                                                                :
                                              1
ORION HEALTHCORP, INC., et al.,                                 : Case No. 18-71748 (AST)
                                                                : Case Nos. 18-71749 through 67 (AST)
                           Debtors.                             : Case No. 18-71789 (AST)
                                                                :
--------------------------------------------------------------- x (Joint Administration Pending)


    NOTICE OF TELEPHONIC HEARING ON CERTAIN FIRST DAY MOTIONS AND
         ADJOURNMENT OF HEARING ON OTHER FIRST DAY MOTIONS

        PLEASE TAKE NOTICE THAT Orion HealthCorp, Inc. and its affiliated debtors

(collectively, the “Debtors”), by and through their proposed counsel, DLA Piper LLP (US), filed

the following motions and stipulated order seeking an emergency hearing (collectively, the “First

Day Motions”)2:

             •     Amended Motion of the Debtors for Entry of an Order Directing the Joint
                   Administration of Their Chapter 11 Cases [D.I. 10] (the “Joint Administration
                   Motion”);

1
  The Debtors include all of the affiliated entities that are listed on the Appendix, attached hereto. The corporate
headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North, Suite 303, Middletown,
NJ 07748.
2
     Copies of this Order and the First Day Motions may be obtained from the Court’s website at
http://www.nyeb.uscourts.gov/ by obtaining a PACER login and password from the Court’s website (a PACER
password is obtained by accessing the PACER website at: http://pacer.psc.uscourts.gov). The First Day Motions are
also available at no cost on the following website maintained by the Debtors in these chapter 11 cases:
http://dm.epiq11.com/#/case/orionhealthcorp/info.


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       Case 8-18-71748-ast          Doc 27    Filed 03/21/18     Entered 03/21/18 15:43:29




             •     Application for an Order Appointing Epiq Bankruptcy Solutions, LLC as Claims
                   and Noticing Agent for the Debtors Pursuant to 28 U.S.C. §156, 11 U.S.C.
                   105(a), and E.D.N.Y. Administrative Order No. 658 Nunc Pro Tunc to the Petition
                   Date [D.I. 4];

             •     Motion of the Debtors for Entry of an Order Extending the Debtors’ Deadline to
                   File Schedules of Assets and Liabilities and Statements of Financial Affairs
                   [D.I. 5];

             •     Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
                   Maintain and File a Consolidated List Creditor Matrix; and (II) Authorizing the
                   Filing of a Consolidated List of Top 75 Unsecured Creditors [D.I. 6];

             •     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
                   Debtors to Pay Certain Prepetition Wages and Compensation and Maintain and
                   Continue Employee Benefit Programs in the Ordinary Course and (II)
                   Authorizing Banks to Honor and Process Checks and Transfers Related to Such
                   Employee Obligations [D.I. 7] (the “Wage Motion”);

             •     Motion of the Debtors for Entry of Interim and Final Orders Authorizing the
                   Debtors to Continue their Insurance Policies and Pay Prepetition and
                   Postpetition Obligations in Respect Thereof [D.I. 14];

             •     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
                   Debtors’ Proposed Form of Adequate Assurance of Payment, (II) Establishing
                   Procedures for Resolving Objections by Utility Companies, and (III) Prohibiting
                   Utility Companies from Altering, Refusing, or Discontinuing Service [D.I. 15];

             •     Motion of the Debtors for Entry of Interim and Final Orders Authorizing (I)
                   Continued Use of Existing Cash Management System, (II) Maintenance of
                   Existing Bank Accounts (III) Continued Transfers Among Debtors and Non-
                   Debtor Affiliates and (IV) Continued use of Existing Business Forms [D.I. 16] (the
                   “Cash Management Motion”);

             •     Motion of the Debtors for Entry of Interim and Final Orders (A) Authorizing the
                   Debtors to pay or Honor Prepetition Obligations to Certain Critical Vendors and
                   (B) Authorizing Banks to Honor and Process Checks and Transfers Related to
                   such Critical Vendors Obligations [D.I. 17];

             •     Stipulated Order (I) Authorizing Use of Cash Collateral and (II) Granting
                   Adequate Protection Pursuant to 11 U.S.C. §§ 361 and 363 [D.I. 25] (the “Cash
                   Collateral Stipulation”); and
             •     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing
                   Debtors to (A) Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361,
                   362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), and 364(e) and (B) Use Cash
                   Collateral Pursuant to 11 U.S.C. § 363, (II) Granting Adequate Protection



EAST\152372962.1
       Case 8-18-71748-ast        Doc 27    Filed 03/21/18    Entered 03/21/18 15:43:29




                   Pursuant to 11 U.S.C. §§ 361, 362, 363, and 364, and (III) Scheduling Final
                   Hearing Pursuant To Bankruptcy Rules 4001(b) and (c) [D.I. 26] (the “DIP
                   Motion”).

         PLEASE TAKE FURTHER NOTICE THAT the hearing (the “Initial First Day

Hearing”) on the Joint Administration Motion, the Wage Motion, the Cash Management Motion,

the Cash Collateral Stipulation, and the DIP Motion (the “Initial First Day Motions”) shall be

held on March 22, 2018 at 11:30 a.m. (prevailing Eastern Time) telephonically before The

Honorable Judge Alan S. Trust. Any interested party that wishes to dial in to the telephonic

Initial First Day Hearing may use the following dial in information: Telephone Number: 1-

888-472-4293; Access Code: 4238563.

         PLEASE TAKE FURTHER NOTICE THAT any responses or objections to the Initial

First Day Motions may be presented at the telephonic Initial First Day Hearing on March 22,

2018 at 11:30 a.m. (prevailing Eastern Time).

         PLEASE TAKE FURTHER NOTICE THAT the hearing on the First Day Motions

other than the Initial First Day Motions shall be held at a later date to be determined by the

Court.

Dated: March 21, 2018                          Respectfully submitted,
      New York, New York
                                               DLA PIPER LLP (US)

                                               /s/ Thomas R. Califano
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EAST\152372962.1
         Case 8-18-71748-ast      Doc 27    Filed 03/21/18   Entered 03/21/18 15:43:29




                                               APPENDIX

#                        Debtor Name                      Case No.        Last 4 Digits of EIN
1.       Orion HealthCorp, Inc.                        18-71748 (AST)             7246
2.       Constellation Healthcare Technologies, Inc.   18-71749 (AST)             0135
3.       NEMS Acquisition, LLC                         18-71750 (AST)             7378
4.       Northeast Medical Solutions, LLC              18-71751 (AST)             2703
5.       NEMS West Virginia, LLC                       18-71752 (AST)           unknown
6.       Physicians Practice Plus, LLC                 18-71753 (AST)             4122
7.       Physicians Practice Plus Holdings, LLC        18-71754 (AST)             6100
8.       Medical Billing Services, Inc.                18-71755 (AST)             2971
9.       Rand Medical Billing, Inc.                    18-71756 (AST)             7887
10.      RMI Physician Services Corporation            18-71757 (AST)             7239
11.      Western Skies Practice Management, Inc.       18-71758 (AST)             1904
12.      Integrated Physician Solutions, Inc.          18-71759 (AST)             0543
13.      NYNM Acquisition, LLC                         18-71760 (AST)           unknown
14.      Northstar FHA, LLC                            18-71761 (AST)           unknown
15.      Northstar First Health, LLC                   18-71762 (AST)           unknown
16.      Vachette Business Services, Ltd.              18-71763 (AST)             4672
17.      MDRX Medical Billing, LLC                     18-71764 (AST)             5410
18.      VEGA Medical Professionals, LLC               18-71765 (AST)             1055
19.      Allegiance Consulting Associates, LLC         18-71766 (AST)             7291
20.      Allegiance Billing & Consulting, LLC          18-71767 (AST)             7141
21.      Phoenix Health, LLC                           18-71789 (AST)             0856




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